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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                10/19/2020
                                                                       :
SHARKEY JAMES,                                                         :
                                                                       :
                                    Petitioner,                        :
                                                                       :   20-CV-3468 (JPC) (SDA)
                  -v-                                                  :
                                                                       :       NOTICE OF
WILLIAM F. KEYSER,                                                     :     REASSIGNMENT
                                                                       :
                                    Resdpondent.                       :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All parties must familiarize themselves

with the Court’s Individual Rules, including the Court’s Individual Rules and Practices for

Pro    Se Litigants        (that is,      litigants    without counsel), which    are available at

https://www.nysd.uscourts.gov/hon-john-p-cronan. Unless and until the Court orders otherwise,

all prior orders, dates, and deadlines shall remain in effect notwithstanding the case’s reassignment.

The habeas corpus petition has been referred to Magistrate Judge Stewart D. Aaron and remains

referred to Judge Aaron. Unless otherwise specified, all letters, filings, and motions should be

addressed to Judge Aaron. Any conference or oral argument before the Magistrate Judge will

proceed as ordered.

        The Clerk of the Court is respectfully directed to mail a copy of this Order to Plaintiff.

        SO ORDERED.

Dated: October 19, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
